951 F.2d 349w
    NOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.EQUAL EMPLOYMENT OPPORTUNITY COMMISSION, Plaintiff-Appellant,v.ARLINGTON TRANSIT MIX, INC.;  and Arlington Masonry SupplyCo., Defendants-Appellees.
    No. 90-1686.
    United States Court of Appeals, Sixth Circuit.
    Dec. 27, 1991.
    NOTE: THE COURT HAS WITHDRAWN THIS OPINION
    